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                        Case No. 22-11232-AA

        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

 DAVID WILLIAMS, individually and on behalf of all others similarly
situated, CAROLL ANGLADE, individually and on behalf of all others
 similarly situated, HOWARD CLARK, THOMAS MATTHEWS, and
                       MARTIZA ANGELES,
                        Plaintiffs-Appellees,
                                  v.
      RECKITT BENCKISER LLC and RB HEALTH (US) LLC,
                       Defendants-Appellees,

                        THEODORE H. FRANK,
                          Objector-Appellant.

            Appeal from the United States District Court
                for the Southern District of Florida

                        No. 1:20-cv-23564-MGC

          Appellant Theodore H. Frank’s Reply Brief

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                    Certificate of Interested Persons

      Under Pursuant to Cir. R. 28-1(b) and Cir. R. 26.1-2, Theodore H.

Frank declares that the Certificate of Interested Persons in his opening

brief is correct.


Dated: October 17, 2022            /s/ Theodore H. Frank
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                              Introduction

     The settling parties, using over 20,000 words, do not dispute that
the settlement will pay the attorneys much more than what the class

receives: $2.9 million versus $1.1 million. (Plaintiffs are embarrassed

enough by the scanty $1.1 million figure that it is entirely absent from

their brief.) They do not dispute that the Seventh and Ninth Circuits

forbid such upside-down distributions. Defendants do not mention

Pearson, and neither appellee mentions Redman.

     Does Rule 23(e)(2)(C) have any substantive meaning? This Court

has not yet answered that question; the parties instead rely on a non-

precedential unpublished case from before the rule existed; on a fee
dispute case where class counsel was not compromising anyone’s claims

and settlement fairness was not at issue; and on district courts that adopt

the ex parte arguments of settling parties to rubber-stamp settlements

using permissive standards. But the best answer is in the text of the rule,

and the rulings of appellate courts asked to interpret it. Frank’s brief also

provided public-policy arguments why Pearson and Briseño announce the
better rule. The settling parties pooh-pooh that academic and policy

analysis, but they do not provide reasons why their preferred (though

differing) interpretation is superior, much less why this Court should
answer the question of first impression in this Circuit by creating a split.

This is especially so given that appellees do not argue that Briseño is



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wrong; they instead mischaracterize its holdings, though it is in fact

directly on point.

     Appellees do not dispute that the “made available” fiction

encourages perverse behavior and results by class counsel. OB16-18.1

They do not dispute that the best way of measuring the “effectiveness of

the method of distribution” is to look at the results of the method of

distribution, and that the district court did not do that. They do not

dispute that attorneys appropriately incentivized by the Pearson/Briseño

line of cases to care more about what the class actually receives rather

than a fictional made-available number respond to those incentives to
produce better results and ensure that class members actually receive

non-fictional money proportional to the attorneys’ fees. OB18-19.

     Appellees do not dispute that Roes requires reversal because the
lower court erroneously conflated the Rule 23(e)(2)(B) inquiry with the

Rule 23(e)(2)(C) inquiry. OB24 (citing Roes v. SFBSC Mgmt., LLC, 944

F.3d 1035, 1049 n.12 (9th Cir. 2019)). They do not even mention Roes.
     Appellees do not dispute that a district-court failure to address

substantive objections requires reversal under Johnson. OB24.

     All of these forfeitures and implicit concessions should by

themselves resolve the appeal in Frank’s favor. The unpublished Poertner



     1 OB, PB, and DB are Frank’s opening brief, and the plaintiffs’ and
defendants’ answering briefs respectively.


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does not compel this Court to extend its holding to a new and bad

interpretation of a rule Poertner never opined on.

     But appropriately enough for a case over a tv-advertised product:

wait, there’s more! In between the opening and response briefs, this

Court decided Arkin v. Pressman, which agrees with Frank on several of

his arguments. 38 F.4th 1001 (11th Cir. 2022). It is an inappropriate

“ethical violation” for class counsel to “subordinate[] the interests of the

class” to its own by “a huge payout for [attorneys] with little to the class.”

Id. at 1011. The fact that the Arkin settlement made $21 million

available was irrelevant when it is “a legal fiction created to maximize …
attorneys’ fees.” Id. at 1012. Compare OB31-37 (making same argument).

Arkin, which came out two months before appellees’ briefs, but which

neither brief addresses, should also be dispositive.
     Appellees do not dispute that the Sixth and Seventh Circuits forbid

counting generalized prospective injunctive relief as consideration for the

release of, or other prejudice to, retrospective damages claims. Neither

appellee mentions Synfuel, much less attempts to prove its reasoning

unpersuasive; neither discusses Pampers’s analysis of the injunctive

relief in that case. Instead, they both rely on a Ninth Circuit case that
has nothing to do with Rule 23(e)—but does contradict their standing

argument.

     We discuss Article III in Section III. Perhaps recognizing the
settlement and the district court’s legal analysis of it are indefensible on


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the merits, appellees throw up a red herring of jurisdiction without once
mentioning the relevant appellate precedents. Courts have never

required objectors to a class settlement to litigate the merits of their

underlying claim before they can protest settling parties’ violation of
Rule 23(e). Appellees’ arguments confuse the merits with standing; rely

on a mistaken premise about the settlement and record; and ignore that

every appellate court to address this issue has rejected their argument.


                               Argument

I.   The district court erred as a matter of law when it failed to
     correctly address Rule 23(e)(2)(C) factors not listed in
     Bennett. But intervening precedent and appellees’
     forfeitures show that this Court can go farther and not just
     vacate and remand but reverse entirely with instructions to
     reject the settlement.

     A.    Arkin is dispositive here.
     In Arkin v. Pressman, 38 F.4th 1001 (11th Cir. 2022), the Wanca

firm filed a TCPA class action in the Middle District of Florida. They

settled for a putative $21 million fund—but then dismissed the federal

case to refile in Illinois state court because of the opportunity for one-

third instead of 25% fees. Id. at 1005-06. Like most “made-available”

funds, the amount was illusory, because, like here, the parties structured

the settlement so class members would make few claims. Wanca would

receive $7 million (based on the $21 million “made available”) and the


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class would receive less than $1 million. A competing plaintiffs’ firm

objected strenuously, and the defendant used the controversy to

withdraw from the settlement. New litigation ensued back in the Middle

District of Florida, the objector became lead plaintiff, and the parties

reached a new settlement that created a non-reversionary $4.25 million

common fund that would ultimately pay the class four times as much as

the old settlement, though the attorneys much less. Id. at 1006-07.

     Wanca demanded fees from the new settlement on equitable

grounds, but the district court refused. Wanca appealed.

     Arkin noted that Wanca did create a substantial benefit to the
common fund that would ordinarily entitle it to attorneys’ fees, but “this

is not an ordinary case.” 38 F.4th at 1011. “Wanca subordinated the

interests of the class to its own interests throughout the Arkin litigation.
There is no other rational explanation for the terms of the Arkin

Settlement, which provided for a huge payout for Wanca with little to the

class ….” Id. This was “an ethical violation” and grounds for a rejection

of fees entirely. Id. at 1011-12. Even though $21 million was made

available to the Arkin class in the first settlement, that settlement was

plainly inferior to the $4.25 million non-reversionary common fund
negotiated later. Calling a spade a spade, this Court recognized that the

$21 million was a “legal fiction.” Id. at 1012.

     This case is on all fours with the first Arkin settlement. First, there
is a “huge payout for [class counsel] with little to the class,” despite a


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much larger fictional amount made available—though less made

available here than in Arkin. Id. Second, just as the Arkin defendant

could terminate the settlement if there were too many claims, id.; a

functionally identical provision exists in this case, Dkt.116-1 at 12 ¶4.

And, lastly, there is even a hint of Arkin’s forum shopping to maximize

attorneys’ fees: plaintiffs here filed the first suit in California (where the

Ninth Circuit prohibits settlements like these), but decided to ultimately

file the settlement in Florida, presumably to avoid that unfavorable

precedent. (The district court ignored Frank’s invitation (Dkt.108-2 at 11

n.1) to investigate whether the parties were forum-shopping.)
      Arkin calls it “an ethical violation” to use the illusion of “nominal[]”

relief made available to maximize attorneys’ fees at the expense of the

class—exactly what Frank challenges in his objection and appeal. E.g.,
OB21-22 & 37-51. How can conduct considered unethical unclean hands

in one case be fair, reasonable, and adequate in another? The class’s

interests are just as “subordinated.” The district court fell for the made

available “fiction” in approving the settlement, and that requires

reversal. As in Arkin, a renegotiated proportional settlement would

provide the class much more relief. The district court erred in failing to
reject the settlement entirely, and Arkin requires reversal here with

instructions to reject settlement approval.




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     B.    The Bennett factors do not subsume Rule 23(e)(2)(C).
     The district court committed reversible error when it applied the

wrong legal standard to settlement approval and ignored a number of

Rule 23(e)(2)(C) factors and applied only the pre-2018 amendment
Bennett factors. OB32-34. Appellees disagree: they assert, citing other

district courts that made the same error, that the Bennett factors

encompass everything in Rule 23(e)(2)(C). DB14-16. Putting the two lists

side by side should resolve the disagreement quickly. Nothing in the

Bennett factors requires consideration of the two critical problems with

this settlement addressed in Rules 23(e)(2)(C)(ii) and (C)(iii)—and, sure
enough, the district court did not address those factors, or even attempt

to shoehorn them into the constrained readings appellees wish. Contrary

to RB’s claim (DB20), Equifax does not disagree:

           A class action may be settled only with court approval,
           which requires the court to find the settlement ‘fair,
           reasonable, and adequate’ based on a number of factors.
           Fed. R. Civ. P. 23(e)(2). This Court has also instructed
           district courts to consider several additional factors
           called the Bennett factors.
In re Equifax Data Breach Litig., 999 F.3d 1247, 1273 (11th Cir. 2021)

(emphasis added); accord OB14. Nothing in Equifax says to ignore
Rule 23(e)(2)(C)’s text; the opinion simply notes that appellants there did

not raise those particular issues.




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     C.    “Effectiveness” must mean “effectiveness.” The text of
           Rule 23(e)(2)(C)(ii) makes no sense without looking at
           actual recovery, and the district committed reversible
           error in refusing to do so.
     Rule 23(e)(2)(C)(ii) requires analysis of the “effectiveness of the

method of distribution.” Plaintiffs assert (PB38) that the “Magistrate

Judge’s R&R did specifically address Rule 23(e)(2)(C)(ii)”—though the

word “effectiveness” never shows up in that opinion’s analysis of

settlement fairness. More importantly, the district court expressly
eschewed evaluating actual recovery to the class (Dkt.133 at 84-85), as

the Rule must require for its text to make any sense. OB31-37. Plaintiffs’

quotes of the R&R (PB38-39) have nothing to do with the effectiveness of
methods of distribution.

     Plaintiffs’ claim of forfeiture (PB38) is wrong. Frank specifically

argued in his objection that “the new 2018 Amendments to Rule 23”
“require[] looking at actual class recovery and not fictional sums.” Dkt.75

at 32 (quoting Rule 23(e)(2)(C)(ii) and citing Briseño); see also Dkt.135

at 7-9, 19-20 (Rule 72(b)(2) objection that “ignor[ing] ‘the actual payout

to the class’ writes the word ‘effectiveness’ out of Rule 23(e)(2)(C)(ii)”).

Neither the R&R nor the district-court adoption of it analyze or interpret

Rule 23(e)(2)(C) or mention Briseño.

     Again, plaintiffs cite (PB41-55) a variety of opinions about

contested attorneys’ fee disputes between class counsel and defendant

that discuss the “made available” rule. None of those published cases are


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about the Rule 23(e) fairness of compromises, where the settling parties

can throttle with actuarial certainty the fictional “made available”

amount to a small fraction. OB20-21; OB35-36. Poertner is not persuasive

in its dicta, for it fails to address that Pearson discussed this very reason

for distinguishing Boeing and rejecting the “made available” fiction.

(Plaintiffs never claim, much less argue, that Pearson is wrongly decided;

they just argue ipse dixit that the non-precedential Poertner is more

persuasive.) Both Carter v. Forjas Taurus, S.A., 701 Fed. App’x 759 (11th

Cir. 2017), and Poertner are unpublished opinions that pre-date the 2018

Amendments and simply say nothing—certainly nothing that is
binding—on this point. This Court has yet to cite Poertner in a published

opinion, and is not bound by district courts that have.

      “Effective” means “actual” or “producing, a desired, decisive, or
desired effect” or “producing or capable of producing a result.” Effective,

Merriam-Webster (online version, available at https://www.merriam-

webster.com/dictionary/effective) (last accessed Oct. 16, 2022). “Effective
typically describes things—such as policies, treatments, arguments, and

techniques—that do what they are intended to do.” Id. For example, one

might describe a vaccine as “96% effective.” Id. Plaintiffs’ proposal (PB51)
is that courts consider the “effectiveness of the method of distribution,”

but that’s what Frank calls for. How does one consider effectiveness

without objectively and empirically measuring effectiveness? By




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plaintiffs’ light, the FDA can evaluate the effectiveness of a vaccine by

asserting “I subjectively think it will work” without looking at any data.

     It is nonsense to judge effectiveness in a vacuum without

considering whether the methods “d[id] what they [we]re intended to do”:

actually deliver money to the class. Indeed, one of plaintiffs’ complaints

below alleges “‘Science’ has not proven Neuriva’s effectiveness.” Dkt.133

at 10. In other circumstances, plaintiffs understand that effectiveness is

necessarily something subject to objective evaluation. It is the plaintiffs

who ask to “rewrite Rule 23(e)(2)” (PB51) by asking for a ruling giving

district courts permission to ignore effectiveness. Whatever the R&R
looked at, it was not the effectiveness of the methods of distribution.

“Effectiveness” does not mean “I subjectively think it will be effective”; it

means it produced actual results.
     RB disagrees with plaintiffs and suggests (DB23) a different

definition of the subsection: it asserts that a discussion of “a ‘fair and

reasonable recovery’ for the class in light of the defendant’s defenses” can

satisfy Rule 23(e)(2)(C)(ii). This suggestion (which is not what the district

court said it was doing) is wrong. It interprets Rule 23(e)(2)(C)(ii) as

redundant with Rule 23(e)(2)(C)(i) and makes a nullity of (C)(ii).
     RB     then   suggests    (DB23-24)      interpreting         the   provision

“effectiveness of methods of distribution” as referring to the effectiveness

of the notice. Again, this isn’t what the R&R says it thought the Rule
meant. And, more critically, it’s also not what the Rule says. Fed. R. Civ.


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Proc. 23(c)(2) addresses notice requirements. RB, and the district courts

it cites, give no explanation of why Rule 23(e)(2)(C)(ii) would repeat an

inquiry already required elsewhere in Rule 23(c)(2)—and do so without

once mentioning the word “notice.”

     RB is simply wrong when it says Briseño adopted this construction.

As Briseño itself says, “we mention the lack of direct notice to underscore

that the parties here knew that the redemption rate would be extremely

low and that the agreed-upon attorneys’ fees would swamp the actual

recovery for class members.” Briseño v. Henderson, 998 F.3d 1014, 1020

(9th Cir. 2021). Briseño’s discussion of notice was an underscore of the
existing problems of disproportionality. (So too in Frank’s brief; Frank’s

discussion of notice simply provides the context that settling parties can

regulate the actual claims-made recovery with actuarial certainty
regardless of the fictional amount made available in part by choosing not

to provide more than the constitutional minimum of notice. OB19-21.)

Briseño rejected the settling parties’ argument that the tens of millions

of dollars made available made the settlement fair: “With a class of nearly

15 million consumers, ConAgra claimed that it theoretically exposed

itself to nearly $67.5 million in claims if every consumer submitted a
claim.” 998 F.3d at 1020. But the Ninth Circuit refused to credit the

“$67.5 million in potential payout” and repeatedly emphasized the $1

million in actual recovery. Id. Class members “ended up receiving only
about 1% of that touted amount. … This gross disparity in distribution of


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funds between class members and their class counsel raises an urgent

red flag demanding more attention and scrutiny.” Id. at 1026. But by

appellees’ lights applying pre-2018 amendment Ninth Circuit decisions

Briseño correctly ignored (e.g., PB50, PB53),2 the Conagra settlement

was eight times as valuable as the one here.

     Plaintiffs incompletely quote Baby Products to argue for a “made

available” framework. PB63. But the Third Circuit goes on to say

           We appreciate, however, that awarding attorneys’ fees
           based on the entire settlement amount rather than
           individual distributions creates a potential conflict of
           interest between absent class members and their
           counsel. “Arrangements such as [these] . . . decouple
           class counsel's financial incentives from those of the
           class. . . . They potentially undermine the underlying
           purposes of class actions by providing defendants with a
           powerful means to enticing class counsel to settle
           lawsuits in a manner detrimental to the class.” Int’l
           Precious Metals Corp. v. Waters, 530 U.S. 1223, 1224,
           120 S. Ct. 2237, 147 L. Ed. 2d 265 (2000) (denial
           of cert.) (O'Connor, J.) (discussing a percentage fee
           calculated against the entire settlement fund even
           though a significant portion would revert to the
           defendant). Class members are not indifferent to
           whether funds are distributed to them or to cy
           pres recipients, and class counsel should not be either.


     2 Rest assured, Briseño plaintiffs did not forfeit identical arguments
using Williams. Pl. Br., Appeal No. 19-56297 Dkt.35-1 at 32 & n.13 (9th
Cir. Jul. 2, 2020).


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In re Baby Prods. Antitrust Litig., 708 F.3d 163, 178 (3d Cir. 2013). We

agree: class counsel should not be “indifferent to whether funds are

distributed to” class members or the defendant. And Arkin agrees. 38

F.4th at 1011.

     Even worse, Plaintiffs utterly mischaracterize Northeastern Eng’rs

Fed. Credit Union v. Home Depot, Inc., 931 F.3d 1065 (11th Cir. 2019).

PB41-44. In Home Depot, class counsel argued that side deals by banks

that opted out of the class should be included in the constructive common

fund because class counsel’s litigation had made those side deals possible,

and this Court agreed. It wasn’t a question of the banks being “never
paid” (PB43), and the case does not even mention the “made available”

construct. 931 F.3d at 1095. The case cites Waters v. Int’l Precious Metals

Corp., 190 F.3d 1291 (11th Cir. 1999), only for the uncontroversial
proposition that a clear-sailing agreement does not bind courts. Compare

id. at 1092 with PB43.

     The district committed reversible legal error in its analysis—or

failure to analyze—the effectiveness of the methods of distribution

through the objective evidence of the actual class recovery, rather than

the fictional amount made available.




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     D.    The district court failed to correctly evaluate the
           Rule 23(e)(2)(C)(iii) red flags of disproportionate
           recovery, clear sailing, and a kicker. Appellees rest
           entirely on the “made available” fiction and identify no
           exceptions that could save this settlement.
     Rule 23(e)(2)(C)(iii) requires an analysis of the settlement in

relation to the terms of the attorneys’ fees. Even if, somehow,

Rule 23(e)(2)(C)(ii) “effectiveness” does not encompass the class’s actual

recovery (Section I.C above), (C)(iii) does require an analysis of the
proportionality of the fees that does not rely on fictional numbers.

Briseño, 998 F.3d at 1024.

     Plaintiffs quote (PB50-51) the Advisory Committee Notes but omit
the most salient language. “Examination of the attorney-fee provisions

may also be valuable in assessing the fairness of the proposed

settlement,” in particular “the relief actually delivered to the class can be
a significant factor in determining the appropriate fee award.” 2018

Advisory Committee Notes on Rules (emphasis added).

     This settlement had a “bevy of questionable provisions”: the “red
flags” of disproportionate recovery, clear sailing, and a kicker. Briseño,

998 F.3d at 1018, 1025-28; OB25. The district court committed reversible

error in considering these red flags to be settlement benefits, rather than
problems that the settling parties needed to justify. OB26 (citing Dkt.133

at 89). But even on appeal, appellees do not try to justify these generally

abusive provisions as a benefit to the class. Appellees make no argument



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that disproportionality was appropriate here (instead, they argue that

one must look to the fictional amount made available); they make no

attempt to refute Frank’s analysis (OB25-28) that the kicker unfairly

prejudiced the class. Instead, they argue (PB58-59) (as did the district

court (Dkt.133 at 87-88)) that the provisions are convenient to the

attorneys. But as this Court holds, “Subordinating the interests of the

class for the convenience of the attorneys is as much an ethical violation

as selling the class out for attorneys’ fees.” Arkin, 38 F.4th at 1012.

     Yes, Frank agrees: there are rare situations when Briseño red flags

do not forbid approval of a “good deal.” Briseño, 998 F.3d at 1027. But
appellees argue (DB28; PB58) that, because Briseño red flags do not per

se invalidate settlement approval, they do not bar this settlement

approval. The non sequitur should be evident. Not all American vice
presidents are men, but the very rare Kamala Harris does not mean Dan

Quayle or Schuyler Colfax is a woman. Appellees provide absolutely no

legal rule for determining when settlement approval is appropriate or

inappropriate when Briseño red flags are present, and ask this Court to

affirm a district court ignoring the red flags entirely. There’s good reason

for that: the exceptions to the red flags that most appellate courts have
identified do not apply to this settlement.

     One exception to Briseño in the Ninth Circuit comes when class

counsel settles a Rule 23(b)(2) class action for injunctive relief that has
value and “damages were also not part of the class release.” Campbell v.


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Facebook, Inc., 951 F.3d 1106, 1126-27 (9th Cir. 2020). “An injunctive-

relief-only class settlement, by definition, has no fund into which any fees

not awarded by the court could possibly revert,” thus clear-sailing clauses

and kickers cannot have deprived the class of monetary relief. Id. at 1127.

The Campbell exception is irrelevant here for two reasons. First,

damages are part of the class release in this Rule 23(b)(3) settlement; and

second, it was entirely possible to award the excess disproportionate fees

to the over 99% of class members who released their damages claims

without receiving any cash at all. RB put about $4 million on the table,

and class counsel expropriated all but about $1 million for itself by
negotiating a segregated constructive common fund preventing a

redistribution of the disproportionate fee. Of course class counsel

“bargained away” (Campbell, 951 F.3d at 1126) better relief for the class:
they chose a disproportionate constructive common fund that benefited

the attorneys at class expense instead of a common fund without

segregated fees that would have paid the class more and counsel less.

     The other exception to Briseño comes if the entire class receives

“essentially complete relief.” In re Southwest Air. Voucher Litig., 799 F.3d

701, 704 (7th Cir. 2015). If the settlement fully compensates every class
member without compromising colorable claims, then there was no cost

to the class from disproportionality, clear-sailing, or kicker clauses, and




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the settlement is the sort of “good deal” Briseño discusses as an exception.

998 F.3d at 1027.3

     The Southwest/Briseño “good deal” exception does not apply here.

The class has not been fully compensated, and injunctive-relief claims

were severely compromised. 99% of the class received nothing.

     The Ninth Circuit asked the lower court to “give a hard look at the

settlement agreement to ensure that the parties have not colluded [sic,
self-dealt] at class members’ expense.” Briseño, 998 F.3d at 1028. Briseño

requires “scrutinizing” not just for “potential collusion,” but “unfairness.”

998 F.3d at 1026. The district court did not perform that scrutiny, and
thus erred.

     At a minimum, appellees do not deny that the district court claimed

that these abusive provisions were a benefit to the class. They do not
attempt to refute Frank’s reasoning (OB23-31) why this is incorrect. Nor

do they attempt to refute Frank’s argument that Roes requires reversal

because the lower court erroneously conflated the Rule 23(e)(2)(B)

inquiry with the Rule 23(e)(2)(C) inquiry. OB24 (citing Roes, 944 F.3d




     3 As it turns out, the Southwest panel discovered in a later appeal
that it was factually incorrect about its “belief that the class could have
done no better” and sua sponte considered recalling the mandate from its
affirmance of settlement approval. In re Southwest Air. Voucher Litig.,
898 F.3d 740, 746-47 (7th Cir. 2018).


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at 1049 n.12).4 The district court committed reversible error in failing to

evaluate the settlement correctly under Rule 23(e)(2)(C)(iii).

     But no other conclusion other than settlement rejection should be

possible. The settlement has a kicker and disproportionality; both benefit

class counsel at the expense of the class and create unfairness. An

economically identical $4 million settlement without a kicker and

without disproportionality would have provided an additional $2 million

to class members. Appellees provide no justification for this result other

than to argue that the settlement wasn’t actually disproportionate

because of the amount made available and that there isn’t a per se rule
against red-flag provisions. But because of the kicker and the

disproportionality, the “defendant obtained an economically beneficial

concession with regard to the merits provisions, in the form of lower
monetary payments to class members.” In re Dry Max Pampers Litig.,


     4 Samsung made a similar error in suggesting such an exception. It
held that kickers and clear-sailing clauses required scrutiny, but that
arms-length negotiations under a mediator could be cause to save such a
settlement. In re Samsung Top-Load Washing Machine Mktg., Sales
Practices & Prods. Liab. Litig., 997 F.3d 1077, 1091 (10th Cir. 2021). As
an initial matter, the district court did not perform even the scrutiny
Samsung required. But Samsung’s proposed exception conflates the
Rule 23(e)(2)(C)(iii) with the separate Rule 23(e)(2)(B) analysis.
Satisfying Rule 23(e)(2)(B)’s arm’s-length requirement cannot excuse
failure to satisfy other provisions of Rule 23(e)(2). Roes, 944 F.3d at 1049
n.12; see also Pampers, 724 F.3d at 717; OB16-18, OB24.


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724 F.3d 713, 718 (6th Cir. 2013); cf. also Arkin, 38 F.4th at 1011-12

(“unethical” to structure a claims-made settlement to disproportionately

favor attorneys, notwithstanding the tens of millions made available).

Rule 23(e)(2)(C)(iii) thus requires rejection of the settlement here.

      E.   Remand is independently required because neither the
           R&R nor the district court gave a reasoned response to
           several substantive Frank objections.
      Appellees do not dispute that a district-court failure to address

substantive objections requires reversal under Johnson. E.g., OB15;
OB24; OB38. The Johnson “reasoned response” standard does not even

appear in appellees’ briefs. The R&R ignored a number of Frank’s

arguments, and then the district court, which had the Rule 72 obligation
of de novo review, gave no reasoned response when Frank filed Rule 72(b)

objections. Remand is required for this reason alone, and appellees have

forfeited any argument to the contrary.

II.   The injunction to replace a few words in Neuriva’s future
      marketing does not direct relief to the class, so cannot
      support final approval of a settlement waiving the class’s
      retrospective damages claims.

      Pampers and Synfuel note that prospective injunctive relief cannot
be a settlement benefit for the release or other prejudice5 of retrospective


      5 Plaintiffs incompletely characterize (PB59) Pampers as an
injunctive relief class action. While the district court certified that class



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damages claims. OB46. Neither appellee even mentions Synfuel, much

less attempts to prove its reasoning unpersuasive; neither discusses

Pampers’s analysis of the injunctive relief in that case.

     Instead, both rely (PB64-65; DB4-35) on Davidson v. Kimberly-

Clark Corp., 889 F.3d 956 (9th Cir. 2018). Davidson reversed a district

court’s dismissal for lack of standing. It holds that even a class member

who is not deceived has Article III standing to sue for injunctive relief

under state law. Id. at 974. Davidson has nothing to do with Rule 23(e)

analysis of that injunctive relief, much less when it is appropriate to

settle (b)(3) damages claims with prospective injunctive relief. It does,
however, put another nail in the coffin in appellees’ standing arguments.

See Section III below. Frank is not today challenging plaintiffs’ Article III

standing to seek prospective injunctive relief in a separately
represented 23(b)(2) class. But that someone may survive a Rule 12(b)(1)

motion at the injunctive-relief pleading stage does not empower her to

release the damages claims of 23(b)(3) class members in exchange for

injunctive relief affecting opt-outs and the world at large.



under 23(b)(2), the settlement enjoined class members from bringing
class actions for damages and purported to release all “equitable”
claims—which would include the (b)(3) equitable remedies of restitution
and disgorgement. 724 F.3d at 716; compare Dkt.51 at 55 ¶ 255 (seeking
equitable remedies for damages). Pampers did not address this objected-
to violation of Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011).


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     Frank provided some hypotheticals to support his reasoning for

why such prospective injunctive relief is inappropriate to settle

retrospective damages claims. OB42-43. RB jeers at the hypotheticals

(DB35-36; DB17-18)—but ends with just jeering without any attempt to

address the underlying argument. This is a question of first impression

for this Court, and theory and public-policy implications matter. Frank’s

analysis remains just as valid if the Court substitutes the names “Able,”

“Baker,” and “Charlie” for those of beloved characters in a sitcom episode

about consumer fraud. It’s the same reasoning given by Synfuel and

Pampers. (RB’s argument about the injunction’s value (DB36 n.2), aside
from being entirely inapposite to Synfuel’s reasoning, oddly focuses on

the putative lack of merit in the original consumer-fraud claim. But if RB

is correct that its original label was accurate, it means that any non-
negligible value of the injunction is negative. RB’s footnote also repeats

without defending the district court’s error confusing a defendant’s

putative competitive disadvantage with class benefit. OB39-42.)6 But
RB’s jeering is more than plaintiffs’ answer to the hypotheticals, which

was… nothing.




     6 For example, imagine an injunction that required RB to paint its
factories and offices a repulsive shade of Pantone 448. This would
perhaps be a competitive disadvantage to RB as employees flee to more
aesthetic environs, but it would not be a class benefit.


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     The appellees provide no reason to create a circuit split and reject

the persuasive reasoning of Synfuel and have forfeited the question.

(Ironic that RB complains about purported lack of precedent (DB18)

while ignoring the precedent Frank cites and failing to identify any of its

own addressing Frank’s argument.) The district court erred as a matter

of law in ascribing value to the class from the injunction.

III. Frank is a class member whose claims are compromised by
     the settlement and has standing to appeal settlement
     approval.
     For the first time on appeal, appellees attempt to muddy the issues

before the Court by inventing a challenge to Frank’s standing. To begin,

a party may not wait until appeal to raise factual disputes about
jurisdiction. For example, if a complaint or removal alleges diversity

jurisdiction, a party may not delay proceedings on appeal by making

speculative factual contentions that it forfeited below. E.g., Workman v.

United Parcel Serv., Inc., 234 F.3d 998, 1000 (7th Cir. 2000). Plaintiffs

had the opportunity to challenge Frank’s proof of class membership,

which included an Amazon receipt, a declaration, and a photo of the

bottle. If the plaintiffs correctly pleaded that Neuriva’s misleading

labeling creates a market price premium for the entire class (Dkt.51

at 37), this artificially high price harmed Frank proportionally. If

plaintiffs are incorrect that Frank paid a price premium, it means

plaintiffs’ underlying claims are meritless, or that the district court erred


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in certifying a class, but it does not deprive Frank or plaintiffs of

standing. See, e.g., Steel Co. v. Citizens for a Better Environment, 523 U.S.

83, 89 (1998); Maya v. Centex Corp., 658 F.3d 1060, 1068 (9th Cir. 2011).

Frank stands in the same economic shoes as all class members. Having

obtained a release of a certified class by persuading the district court to

find that all class members are similarly situated (Dkt.57 at 3),7 the

appellees are judicially estopped from asserting that class membership
includes plaintiffs with individualized claims.

     Frank objected to a settlement that binds him, and plaintiffs cite no

authority that he must prove anything more.8 Nor can they, for Supreme


     7 Oddly, perhaps because no one challenged class certification,
neither the R&R nor the district court’s final order formally certified the
class, and nobody noticed until this brief. We assume arguendo that the
Rule 23(e)(1)(B) order has that effect, but under the Federal Rules, it
technically can be only a finding that the “court will likely be able to …
certify the class for purposes of judgment on the proposal.” Cf. In re
Target Corp. Customer Data Breach Litig., 847 F.3d 608, 613 (8th
Cir. 2017) (preliminary approval certification does not preempt need for
analysis at final approval).
     8 Plaintiffs show some chutzpah (PB30) by stipulating to an order
(Dkt.57 at 5-6 ¶13) requiring Frank to devote 29 declaration pages
detailing his objection experience and then suggesting it was narcissistic
for him to comply with a court order.
     Ironically as they focus the Court’s attention on this mandatory 29-
page list of previous cases, plaintiffs assert ipse dixit (PB36) that Frank
“has not been successful in other courts,” though Frank argued Briseño



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Court precedent forecloses this: “As a member of the [] class, [Frank] has

an interest in the settlement that creates a ‘case or controversy’ sufficient

to satisfy the constitutional requirements of injury, causation, and

redressability.” Devlin v. Scardelletti, 536 U.S. 1, 6-7 (2002) (citing

Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)). Frank’s declaration

established that he was a member of the class who purchased Neuriva

during the class period, Dkt.75-1 at 1-2, which the Complaint alleged was

“ineffective and worthless,” Dkt.51 at 35-37. “Once he established that he

was a member of the class, he needed to do no more in order to proceed

with his objection.” Berni v. Barilla S.P.A., 964 F.3d 141, 145-146 (2d Cir.
2020). “For the same reason, he need do no more now to proceed with his

appeal before this Court.” Id.

     The initial complaint establishes courts’ Article III jurisdiction.
Appellate standing exists because Frank’s injury—the waiver of his

claims in exchange for money going to attorneys instead of class

members—is redressable by a successful appeal. Plaintiffs’ reliance on In

re First Cap. Holdings Corp. Fin. Prod. Sec. Litig., 33 F.3d 29 (9th Cir.

1994), to the contrary is misplaced. The Supreme Court abrogated the

proposition for which plaintiffs cite it—that class membership is
insufficient to confer Article III standing to contest an undesired



and Pearson and Redman and Baby Products and many other cases he
relies upon.


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settlement. Devlin, 536 U.S. at 7; see also 2003 Amendments to Rule 23,

(then-enumerated Rule 23(e)(4) (now Rule 23(e)(5)) specifically allowing

“any class member to object.”). The ability of objecting class members to

appeal settlement approval “does not implicate the jurisdiction of the

courts under Article III of the Constitution.” Devlin, 536 U.S. at 6-7.9

Because Frank “is a member of the class bound by the judgment, there is

no question that he satisfies [the three requirements for Article III

standing].” Id. at 7. As the Ninth Circuit recognized post-Devlin, “neither

Article III nor prudential standing is implicated by the efforts of non-

intervening objectors to appeal class-action settlements.” Churchill
Village, L.L.C. v. Gen. Electric, 361 F.3d 566, 572 (9th Cir. 2004). The

parties may ask for certiorari for the Supreme Court to overrule Devlin,

but the Supreme Court’s “decisions remain binding precedent until we
see fit to reconsider them, regardless of whether subsequent cases have

raised doubts about their continuing vitality.” Bosse v. Oklahoma, 137 S.

Ct. 1, 2 (2016) (quoted by Johnson, 975 F.3d at 1260).

     Next, plaintiffs claim (without citation) that because Frank may

receive the full purchase price of his supplements from the settlement his

injuries lack redressability, and he lacks standing for that reason. Wrong

again. Class members have standing to challenge unwanted settlements

     9 Steel Co. also abrogated First Capital; the Ninth Circuit confused
the supposed futility of a class member’s appeal with the standing to
bring that appeal.


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even if the settlement putatively “fully compensates” the objector. In re

Subway Footlong Sandwich Mktg. & Sales Practices Litig., 869 F.3d 551,

555 (7th Cir. 2017) (finding Frank has standing and reversing settlement

approval); Rawa v. Monsanto Co., 934 F.3d 862, 867 (8th Cir. 2019).

     But even plaintiffs’ premise is incorrect. Frank would not be fully

compensated by a settlement’s repayment of the cost of his purchase

because the complaint seeks other relief that the settlement compromises

away. First, the complaint seeks injunctive relief and so Frank still has

standing to seek redress of that claim for relief. Davidson, 889 F.3d 956

(cited by both appellees for other reasons as if it were not just an
Article III standing case). Second, the complaint seeks pre- and post-

judgment interest (Dkt.51 at 56 ¶6), which the settlement does not

provide. The settlement has compromised Frank’s claims. “Class
members suffer injury in fact if a faulty settlement is approved, and that

injury may be redressed if the court of appeals reverses. What more is

needed for standing?” In re Navigant Consulting, Inc. Sec. Litig., 275 F.3d

616, 620 (7th Cir. 2001) (Easterbrook, J.) (answering that question by

holding timely intervention as a party is also required; abrogated on

those grounds by Devlin).
     Feder is inapposite: there, the court affirmed a holding that the

putative objector was not a class member and dismissed his appeal. Feder

v. Elec. Data Sys. Corp., 248 F. App’x 579 (5th Cir. 2007). “The necessary
elements of Urbanik’s standing to object could be established by proof of


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his class membership.” But there is no dispute that Frank is a member

of the class. Of course, non-class-members lack standing to challenge

settlements that do not bind them, but the class definition here includes

and binds Frank.

     In sum, Frank is a class member. Based on that status he has

standing to bring his appeal to challenge approval of a settlement that

violates Rule 23(e) and the rights of the class. That he may receive what

amounts to a refund for his purchase of Neuriva has no legal bearing on

his ability to object to the other compromised relief.

     Finally, the new Fed. R. Civ. P. 23(e)(5)(A) permits an objector who
is a member of the class to object on behalf of the entire class, as Frank

did here. Dkt.75 at 8. In doing so, he assumes a limited fiduciary duty “to

represent [the] common rights” of the class. Pearson v. Target Corp., 968
F.3d 827, 834 (7th Cir. 2020) (Pearson III). (One difference with a class

representative: there is no requirement that the Rule 23(e)(5) objector

meet the Rule 23(a)(3) typicality standard.) Just as a defendant cannot

moot a class action by offering to buy off the class representative, an offer

to provide a refund to a publicly minded objector does not deprive him of

standing to rectify the injury to the class as a whole from a self-dealing
settlement. Cf. Campbell-Ewald Co. v. Gomez, 577 U.S. 153 (2016).

Indeed, if appellees offered Frank $1,000,000 to drop his appeal without

benefit to the class—unquestionably in excess of anything he could




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recover at a trial—Frank would have a legal as well as a moral obligation

to reject the settlement offer. Pearson III, 968 F.3d 827.


                               Conclusion

     The district court’s final judgment granting settlement approval

must be vacated. The Court should further find that Rule 23(e) and Arkin

preclude approval of this settlement.

Dated: October 17, 2022           Respectfully submitted,

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Executed on October 17, 2022       /s/ Theodore H. Frank
                                   Theodore H. Frank




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